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                                                                   U NI T E D S T A T E S D I S T R I C T C O U R T F O R T H E
                                      2                                 C E N T R A L DI S T RI C T O F C A L I F O R N I A
                                      3
                                            T. P. , et al.,                                                                 )
                                      4                                                                                     )
                                      5                             Pl ai ntiff s,                                          ) C a s e N o.: 1 5 -c v -5 3 4 6 -R
                                                                                                                            )
                                      6
                                                        v.                                                                  )
                                      7                                                                                     ) J u d g e: H o n . C or m a c J. C ar n e y
                                      8     W AL T        DI S N E Y    P A R KS                             A N D          ) Tri al D at e: T B D
                                            R E S O R T S U. S. I N C.,                                                     )
                                      9                                                                                     )
                                     10                 D ef e n d a nt.                                                    )
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                                     12
D O G A LI L A W G R O U P, P. A.




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                                     18                        E   VI D E N C E I N S U P P O R T O F P L AI N TI F F S ’ O P P O SI TI O N S T O
                                                                    D E F E N D A N T ’S M O T I O N S F O R S U M M A R Y J U D G M E N T
                                     19
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                                                                                                   E x hi bit “ C ”
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                                                                  Page 1
                                             E x hi bit s i n S u p p o rt of Pl ai ntiff s’ O p p o siti o n s t o M oti o n s f o r S u m m a r y J u d g m e nt
                                             T. P. , et al . v. W alt Di s n e y P a r k s & R e s o rt s U S, I n c.                                            C a s e N o. 1 5 -C V -5 3 4 6 -R
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R E D A C T E D V E R SI O N O F D O C U M E N T P R O P O S E D T O B E FI L E D U N D E R S E A L


     D E C L A R A TI O N O F S. B. I N S U P P O R T O F P L AI N TI F F ’S O P P O SI T IO N T O
     D E F E N D A N T ’S M O TI O N F O R S U M M A R Y J U D G M E N T

     I a m k n o w n i n t his a cti o n as S. B. w h os e f ull n a m e a p p e ars at t h e si g n at ur e li n e
     b el o w, d e cl ar e a n d st at e as f oll o ws:
     1. I a m o v er t h e a g e of 1 8 y e ars a n d of s o u n d mi n d. I u n d erst a n d t h e o bli g ati o n of
     t h e o at h a n d a m c o m p et e nt t o t estif y as t o t h e m att ers s et f ort h i n t his d e cl ar ati o n,
     w hi c h ar e wit hi n m y p ers o n al k n o wl e d g e.
     2. I r e c ei v e d a B a c h el or of S ci e n c e d e gr e e i n E n vir o n m e nt al E n gi n e eri n g i n 1 9 8 3
     a n d a n d J uris D o ct or d e gr e e i n 1 9 9 1 fr o m Illi n ois I nstit ut e of T e c h n ol o g y C hi c a g o
     K e nt L a w S c h o ol.
     3. I a m t h e m ot h er of                           , k n o w n i n t his l a ws uit as V. B. His f at h er
                     a n d I ar e his pri m ar y c ar e gi v ers.
     4. I h a v e b e e n e m pl o y e d b y t h e U nit e d St at es E n vir o n m e nt al Pr ot e cti o n A g e n c y as
     a n e n vir o n m e nt al e n gi n e er si n c e 1 9 8 3.
     5. Li k e a n y p a r e nt, I w a nt t o s e e m y c hil d h a p p y a n d h a v e his b est i nt er ests at
     h e art.
     6. V. B. will b e 2 9 y e ars ol d at t h e ti m e of t his h e ari n g. H e r esi d es wit h m y
     h us b a n d,           , his sist er              a n d I i n Fr a n kf ort, Illi n ois.
     7. V. B. h as b e e n di a g n os e d wit h a utis m, a n xi et y a n d att e nti o n d efi cit h y p er a cti vit y
     dis or d er, s e ns or y i nt e gr ati o n dis or d er, h y p ot o ni a, a n d d e pr essi o n. H e h as r e c ei v e d
     e xt e nsi v e b e h a vi or al t h er a p y si n c e a p pr o xi m at el y t h e a g e of 4.
     8. V. B. ’s s e ns or y i nt e gr ati o n dis or d er r es ults i n hi m b ei n g m u c h m or e s e nsiti v e t o,
     a n d distr ess e d b y, sti m uli s u c h as s o u n ds, s m ell a n d t o u c h. H e oft e n w e ars h e a d
     p h o n es t o tr y t o mi ni mi z e s e ns or y o v erl o a d fr o m n ois e i n p u bli c pl a c es.
     9. I n c o nj u n cti o n wit h his a n xi et y fr o m b ei n g i n cr o w d e d p u bli c pl a c es s u c h as
     Dis n e yl a n d, V. B. d e v el o ps a fi g ht or fli g ht r e a cti o n, b e c o m es e x h a ust e d




                                                       E X HI BI T " C "
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R E D A C T E D V E R SI O N O F D O C U M E N T P R O P O S E D T O B E FI L E D U N D E R S E A L


     e m oti o n all y a n d p h ysi c all y, m a y l a y d o w n a n d n e e ds t o l e a v e t h e p ar k aft er 4
     h o urs.
     1 0. H e is i nt elli g e nt a n d h as gr a d u at e d hi g h s c h o ol a n d e v e nt u all y r e c ei v e d a n
     u n d er gr a d u at e d e gr e e. H o w e v er, his c a p a cit y t o e x pr ess hi ms elf is v er y li mit e d. H e
     d o es n ot c o m m u ni c at e wit h ot h er p e o pl e e asil y. H e b e c o m es e asil y fr ustr at e d a n d
     pr o n e t o m elt d o w ns a n d will w al k a w a y fr o m o v erl y str essf ul sit u ati o ns.
     1 1. O n A u g ust 7 -8, 2 0 1 4, V. B., his sist er, m y h us b a n d a n d I a n d t w o f a mil y fri e n ds
     visit e d t h e Dis n e yl a n d/ C alif or ni a t h e m e p ar ks. V. B. e nj o ys ri d es s u c h as B u z z
     Li g ht y e ar.
     1 2. I w e nt t o g u est s er vi c es t o i n q uir e a b o ut a c c o m m o d ati o ns f or m y s o n’s
     dis a biliti es. I b e c a m e a w ar e t h at Dis n e y h a d i m pl e m ent e d a n e w s yst e m c all e d
     D A S. B as e d o n t h e d es cri pti o n of t h e s yst e m, I w as c o n c er n e d t h at it w o ul d n ot
     a c c o m m o d at e m y s o n’s dis a biliti es. I v ol u nt aril y pr es e nt e d m e di c al d o c u m e nt ati o n
     a b o ut V. B. ’s dis a biliti es. Dis n e y p ers o n n el r ef us e d t o c o nsi d er t his d o c u m e nt ati o n.
     I w as gi v e n a D A S c ar d f or V. B.
     1 3. Usi n g t h e D A S, w e o bt ai n e d a r et ur n ti m e f or t h e first ri d e Vi ct or w a nt e d.
                w ait e d a b o ut a n h o ur a n d a h alf f or t h e r et ur n ti m e f or his c h os e n ri d e.
                w as a n xi o us w hil e w aiti n g. W e h a d b e e n t ol d t h at n o r et ur n ti m e f or a n ot h er
     ri d e is pr o vi d e d pri or t o t h e r et ur n ti m e of t h e first ri d e.
     1 4. W hil e t h e D A S all e vi at e d t h e n e e d t o st a n d p h ysi c all y i n t h e li n e,            still
     b e c a m e e x h a ust e d fr o m w aiti n g wit hi n t h e p ar k a n d b ei n g e x p os e d t o t h e sti m uli
     fr o m cr o w ds a n d n ois e, w hi c h is a n xi et y pr o d u ci n g.                la y d o w n o n a be nc h t o
     tr y t o c o p e wit h t h e sit u ati o n. V. B. w as a bl e t o g o o n a f e w ri d es t h at d a y b ut w e
     l eft aft er 4 -5 h o urs a n xi o us a n d e x h a ust e d.
     1 5. O n A u g ust 8, 2 0 2 0 w e r et ur n e d t o A n a h ei m a n d visit e d C alif or ni a A d v e nt ur e. I
     w e nt t o G u est S er vi c es a n d e x pr ess e d m y dis pl e as ur e wit h h o w t h e D A S di d n ’t
     m e et V. B. ’s n e e ds gi v e n his dis a biliti es. Ulti m at el y, t h e w o m a n i n G u est S er vi c es


                                                       E X HI BI T " C "
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R E D A C T E D V E R SI O N O F D O C U M E N T P R O P O S E D T O B E FI L E D U N D E R S E A L




                                         E X HI BI T " C "
